PROB }2(31‘88)

Case 2:99-cr-20079-BBD D% ur§ 06/10/0 URPage 1 of 5 Page|D 274

for 'Fn_Eo et n %” o.c.

WESTERN DlsTRICT oF TENNESSEE 05 JUt-t 10 PH 5= 65

    

-._s -:__ 0079-002

U.S.A. vs. Fred ,Ieter.,,]r. _:. t
W.D. O£ ill l~.-?" ..£MPHlS

Petition on Probation and Supervised Release

COMES NOW Lorin J. Smith, PROBATION OFFICER ()F THE COURT presenting an official report upon
the conduct and attitude of Fred J'eter Jr., who was placed on supervision by the Honorable Julia Smith Gibbons
United States District Judge, sitting in the Coutt at Memphis, Tennessee on the §`_l_th day of March , M, who
fixed the period of supervision at four 141 years*, and imposed the general terms and conditions theretofore adopted
by the Court and also imposed special conditions and terms as follows:

 

l. The defendant shall participate in substance abuse treatment and testing as deemed appropriate by the
probation office.

* Supervised Release began on September 3, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(Ifshorf insert here; if lengthy write on separate sheet and attach )

SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER that WARRANT be issued for Fred Jeter, Jr. to appear before
the United States District Court to answer to charges of violation of Supervised Release.

   

BOND:
ORDER OF COURT
l declare under penalty of perjury that the foregoing
Consi ered and ordered this / 0 day is true and correct.
of , 202 Z, and ordered filed
and e a part of the records in the above Executed
case. on V).,»/.N/ j =»Zy//f

 

Unit?ll staresD'isn-ict]u<ige /W'§éith L
' P

. robation Officer

Place: Memphis, Tennessee

Thls document entered on the docket sheet ln comptia ce\
with ama 55 and/or aatb) Fach on 6 -' l yes

a@`

Case 2:99-cr-20079-BBD Document 400 Filed 06/10/05 Page 2 of 5 Page|D 275

RE: Fred Jeter, Jr.
l)ocket No. 2:99CR20079~002
Probation Fornl 12
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

THE DEFENDANT HAS VIOLATED TI-IE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:
The defendant shall not commit another federal, state or local crime.

On April 28, 2005, Mr. Fred Jeter, Jr. Was arrested by the Hudspeth County, TX Sherriff’s Department for
Possession of Marijuana over 4 Ounces and under 5 Pounds, and Manufacturing or Delivery of a Controiled
Substance: Codeine.

On April 28, 2005, United States Immigration and Naturalization Officer Robert Jock, along With his assigned K-9
began an inspection of the baggage compartment underneath a Greyhound bus. The K-9 alerted on a black duffel
bag and two soft sided suitcases Fred Jeter, Jr. and his traveling companion, Kristen Saunders, stated that the
baggage belonged to them.

Upon inspection of the baggage a plastic wrapped bundle containing 4.80 pounds of marijuana was found.
Additionally, twenty-one (2]) one pint bottles of Prometh With Codeine Syrup was found.

Mr. Jeter appeared before Magistrate Judge B. Brock of the Hudspeth County Court on April 29, 2005. Mr. Jeter
has been released on $20,000.00 bond for each charge. As of May 31 , 2005, the Hudspeth County Court has not
set a hearing date or time for the charges to be heard in Mr. Jeter’s case.

The defendant shall not leave the judicial district without the permission of the court or the probation officer.

Mr. Fred Jeter, Jr. Was arrested in Sierra Blanca, TX. Mr. Jeter did not have permission to leave the Western District
of Tennessee

At the time of his arrest in Sierra Blanca, TX, Mr. Jeter was on a Greyhound bus which had just crossed the border
from the country of Mexico into the United States. Mr. Jeter did not have permission to be outside of the United
States.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer.

Mr. Fred Jeter, Jr. failed to notify the probation officer within 72 hours of being arrested

Case 2:99-cr-20079-BBD Document 400 Filed 06/10/05 Page 3 of 5 Page|D 276

VIOLATION WORKSHEET

l.. Defendant: Fred Jeter, Jr., 2882 Mendenhal!, Memphis, 'I`N 38115
2. I)ocket Number: 2:99CR20079~002

3. District/Office: Western District of Tennessee. Mem_nhis

4. Original Sentence Date March 31 2000
month day year

 

(ifdi]j‘i?rent than above).'
5. Original District/Oi`fice:

6. Original Docket Numher :

7. List each violation and determine the applicable grade {sLe §7B].1}:

 

 

 

 

 

Violation§s} Grade
New Criminal Conduct: Possession of Marijuana A
New Criminal Conduct: Manufacture or I)elivery of Codeine A
Leaving the Judicial District C
Failure to Notify Probation Ofi'icer of Arrest C
8. Most Serious Grade of Violation (ge §7B1.1(b) A
9. Criminal History Category (s_e_e §'7B1.4(a))74 V]
10. Range of imprisonment (s_e§ §7Bl..4(a)) 33 - 41 months

 

 

 

The Statutoly Maximum is 36 mondis.

l]. Sentencing Options for Grade B and C violations ()nly (Check the appropriate box):

{ } {a) lf the minimum term of imprisonment determined under § 7B1.4 (Term of lmpn'sonment) is at least one month
but not more than six months, § 7B l .3(c)( ]) provides sentencing options to imprisonment

{ } (b) lf the minimum term of imprisonment determined under §7Bl .4 (Term of Imprisonment) is more than six months
but not more than ten months, § 7B l .3(c)(2) provides sentencing options to imprisonment

{X} (c) l f the minimum term of imprisonment determined under § 7B1.4 (Term of Imprisonment) is more than ten months,
no sentencing options to imprisonment are available

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

Case 2:99-cr-20079-BBD Document 400 Filed 06/10/05 Page 4 of 5 Page|D 277

Defendant: Fred ,leter, ,[r.

12. Unsatisfied Conditions of Originai Sentence

List any restitution, fine community confinement, home detention, or intermittent confinement
Previously imposed in connection with the sentence for which revocation is ordered that remains
unpaid or unserved at the time of revocation {see § 7B1.3(d)}:

 

 

 

Restitution N/A Community Confinement N/A

Fine N/A Home Detention N/A

Other/Special Assessment N/A Intermittent Confinement NfA
13. Supervised Release

lf probation is to be revoked, determine the length, if any, of the term of supervised release
according to the provisions of§ §5Dl.1-1.3{Y_e§ §7Bl.3(g) (l)}.
Term:

If supervised release is revoked and the term of imprisonment imposed is less than the maxim term
of imprisonment upon revocation, the defendant may, to the extent permitted by iaw, be ordered to
recommence supervised release upon release from imprisonment { § 18U.S.C.§3583(e) and

§7B1.3(g) (2)}.
Period of supervised release to be served following release from imprisonment [__]

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of
imprisonment

15. Official Detention Adjustment {§e§ §7B1.3(e)}: |Adiust Months] months |Ad]`ust Days[ days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 400 in
case 2:99-CR-20079 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

